                     Case 3:18-cv-01322-KAD Document 375 Filed 12/03/21 Page 1 of 2
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________   of Connecticut
                                                                   of __________


                      PAULA SCANLAN                            )
                             Plaintiff                         )
                                v.                             )      Case No.     3:18-CV-01322-KAD
             TOWN OF GREENWICH, ET AL                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          All Defendants.                                                                                              .


Date:          12/03/2021                                                            /s/ Margaret M. Sheahan
                                                                                         Attorney’s signature


                                                                                  Margaret M. Sheahan (ct05862)
                                                                                     Printed name and bar number
                                                                                     Mitchell & Sheahan, P.C.
                                                                                   999 Oronoque Lane, Ste 203
                                                                                       Stratford, CT 06614

                                                                                               Address

                                                                               msheahan@mitchellandsheahan.com
                                                                                            E-mail address

                                                                                          (203) 873-0240
                                                                                          Telephone number

                                                                                          (203) 873-0235
                                                                                             FAX number
         Case 3:18-cv-01322-KAD Document 375 Filed 12/03/21 Page 2 of 2




                                          CERTIFICATION

       I HEREBY CERTIFY that on this date, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing. Parties may access this filing through the Court’s system.




                                             /s/ Margaret M. Sheahan
                                             Margaret M. Sheahan (ct05862)
                                             Mitchell & Sheahan, P.C.
                                             999 Oronoque Lane, Suite 203
                                             Stratford, CT 06614
                                             203-873-0240
                                             203-873-0235 (fax)
                                             msheahan@mitchellandsheahan.com




                                                5
